                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               EASTERN DIVISION

 In re:                                           }
 Timothy S. Davidson                              }
 Hailey R. Davidson                               }         CASE NO. 17-40874- JJR
                                                  }         CHAPTER 7
 xxx-xx-6193                                      }
 xxx-xx-5663                                      }
                  DEBTOR(S)                       }


               ORDER REQUIRING NOTICE AND HEARING ON
        APPLICATION TO EMPLOY ATTORNEYS nunc pro tunc May 10, 2017


               The trustee has applied for approval of Employment of Professional Persons, S.
Drew Barnett of Belt & Bruner, P.C., 880 Montclair Road, Ste 300, Birmingham, AL 35213 as
Special Attorneys for Estate representing or assisting in carrying out the duties of the trustee
under Title 11 of the United States Code nunc pro tunc May 10, 2017. Because of the
Contingency Fee Agreement of 33 Percent, it is desirable that creditors have an opportunity to
object to the terms of the employment if they wish to do so.
               It is ORDERED, ADJUDGED, AND DECREED that NOTICE is hereby given
to all creditors and the Bankruptcy Administrator that the trustee’s Application to Employ S.
Drew Barnett, of Belt & Bruner, P.C., nunc pro tunc May 10, 2017 as its attorneys will be heard
in 113 U. S. Courthouse, 12th and Noble Streets, Anniston, AL 36201 , at 10:30 a.m. on July 26,
2018, to hear objections, if any to the approval of such employment. If there are no objections,
the employment may be approved.


Dated: June 4, 2018


                                                      /s/James J. Robinson
                                                      James J. Robinson
                                                      Chief United States Bankruptcy Judge



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